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                                                                          James K.T. Hunter (CA Bar No. 73369)
                                                                   1      PACHULSKI STANG ZIEHL & JONES LLP
                                                                          10100 Santa Monica Blvd., 13th Floor
                                                                   2      Los Angeles, California 90067
                                                                          Telephone: 310/277-6910
                                                                   3      Facsimile: 310/201-0760
                                                                          E-mail: jhunter@pszjlaw.com
                                                                   4
                                                                          Attorneys for Plaintiff Richard M. Pachulski, Chapter 11
                                                                   5
                                                                          Trustee for the Bankruptcy Estate of Layfield & Barrett, APC
                                                                   6
                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                   7
                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                   8
                                                                                                               LOS ANGELES DIVISION
                                                                   9

                                                                  10      In re:                                              Case No.: 2:17-bk-19548-NB

                                                                  11      PHILIP JAMES LAYFIELD,                              Chapter 7
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                      Debtor.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14      RICHARD M. PACHULSKI, Chapter 11                    Adv. Case No.: 2:19-ap-01071-NB
                                                                          Trustee for the bankruptcy estate of Layfield &
                                                                  15      Barrett, APC,                                       SUPPLEMENTAL PROOF OF SERVICE
                                                                                                                              RE PLAINTIFF’S OPPOSITION TO
                                                                  16                              Plaintiff,                  PHILIP LAYFIELD’S MOTION FOR
                                                                                                                              JUDGMENT ON THE PLEADINGS
                                                                  17      vs.
                                                                                                                              Date:    September 10, 2019
                                                                  18      PHILIP JAMES LAYFIELD, an individual,               Time:    2:00 p.m.
                                                                                                                              Place:   Courtroom 1545
                                                                  19                              Defendant.                           255 E. Temple Street
                                                                                                                                       Los Angeles, CA 90012
                                                                  20
                                                                                                                              Judge:   Honorable Neil W. Bason
                                                                  21
                                                                                   I, Mary de Leon, hereby declare:
                                                                  22
                                                                                   1.     I am employed in the city and county of Los Angeles, State of California. I am over
                                                                  23
                                                                         the age of 18 and not a party to the within action; my business address is 10100 Santa Monica Blvd.,
                                                                  24
                                                                         13th Floor, Los Angeles, California 90067-4003.
                                                                  25
                                                                                   2.     On August 28, 2019, I served the PLAINTIFF’S OPPOSITION TO PHILIP
                                                                  26
                                                                         LAYFIELD’S MOTION FOR JUDGMENT ON THE PLEADINGS in this matter by sending
                                                                  27
                                                                         copy of said document by email to: phil@maximum.global.
                                                                  28
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                                                                   1             I declare under penalty of perjury, under the laws of the State of California and the United
                                                                   2     States of America that the foregoing is true and correct.
                                                                   3             Executed on August 28, 2019, at Los Angeles, California.
                                                                   4
                                                                                                                       __/s/ Mary de Leon__________________
                                                                   5
                                                                                                                       Mary de Leon
                                                                   6

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                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                               AMENDED PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): SUPPLEMENTAL PROOF OF SERVICE
RE PLAINTIFF’S OPPOSITION TO PHILIP LAYFIELD’S MOTION FOR JUDGMENT ON THE
PLEADINGS will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 28, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       Wesley H Avery (TR) wes@averytrustee.com,
        C117@ecfcbis.com;lucy@averytrustee.com;Isabel@averytrustee.com
       James KT Hunter jhunter@pszjlaw.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 28, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 28, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 VIA HAND DELIVERY                                                            Via Email: phil@maximum.global
 Honorable Neil W. Bason
 U.S. Bankruptcy Court
 255 E. Temple Street, Suite 1552 / Courtroom 1545
 Los Angeles, CA 90012

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  August 28, 2019                Mary de Leon                                                    /s/ Mary de Leon
  Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Mailing Information for Case 2:19-ap-01071-NB

2. SERVED BY UNITED STATES MAIL:

        Philip James Layfield
        c/o Maximum Legal Holdings, LLC
        8 The Green, Suite 6426
        Dover, DE 19901
        Philip James Layfield, Pro Se
        8 The Green, Suite 6426
        Dover, DE 19901




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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